Case 6:20-cv-00660-JDK Document 30-4 Filed 01/01/21 Page 1 of 3 PageID#: 383

1/1/2021 Sen.-elect Tuberville suggests he'll back effort on challenge Electoral College vote | TheHill

  
 
  

Sen.-elect Tuberville suggests
ayegne back effort on challenge Elect«

HILL College vote

hY TAL AXELROD - 12/17/20 01:41 PM EST

Just In... 15,831 SHARES

Bidens honor frontline
workers in NYE address:
'We owe them, we owe
them, we owe them'
ADMINISTRATION

Florida reports first
case of new, contagious
coronavirus strain

STATE WATCH

NY restaurant that
hosted Republican
club's holiday party gets
liquor license revoked
STATE WATCH

Roheveconments Sen.-elect Tommy Tuberville (R-Ala.) indicated in a video that surfaced
ability to adapt amid the Thursday that that he thinks the Senate should support a challenge to the
pandemic results of the Electoral College, which certified President-elect Joe Biden's
LEGAL 111 victory this week.

Tuberville suggested he would back a challenge Rep. Mo Brooks (R-Ala.)

Photos show Wuhan, " ° _. :
has vowed to bring against the vote. If a senator joins Brooks, it would

once epicenter of

pandemic, crowded for require the House and Senate to debate and then vote on the issue.
New Year's celebrations
NEWS “You see what's coming. You've been reading about it in the House. We're

going to have to do it in the Senate,” Tuberville said in the video taken by

Trump hotel in DC liberal activist Lauren Windsor at a rally for Sens. Kelly Loeffler (R-Ga.) and

raises room rates for David Perdue (R-Ga.) in Georgia.
Biden inauguration
NEWS It appeared that Tuberville believed he was speaking with another

rallygoer rather than a liberal activist, and Windsor asked the senator-elect
what he could do to “fight to make this election right.” The video was

Indiana law going into :
taken Wednesday night.

effect Jan. 1 will require
women to have
ultrasound before Louren Windsor w
abortion @lawindsor
HEALTHCARE

BREAKING; ish nnell, Sen-elect Tuberville
suggests ng? Electoral College, while

GOP lawmaker tia ‘
stumping in Georgia

criticizes Trump,

hitps://thehill.com/homenews/senate/530692-tuberville-suggests-hell-back-brooks-effort-on-electoral-college 1/3

 

 
Case 6:20-cv-00660-JDK Document 30-4 Filed 01/01/21 Page 2 of 3 PagelID#: 384
1/1/2021 Sen.-elect Tuberville suggests he'll back effort on challenge Electoral College vote | TheHill

colleagues for 'trying to
discredit' the election
NEWS

VIEW ALL

9:38 AM - Dee 17, 2020 @

/ 643K  () 23,6K people are Tweeting about this

Tuberville's campaign did not immediately respond to a request from
comment from The Hill, but earlier this week Tuberville's campaign
chairman had said that the senator-elect might back the Brooks effort.

“| think that he [Tuberville] and Ted Cruz are the two best candidates to do
this,” said Stan McDonald, Tuberville’s campaign chairman, during an
interview on WVNN-radio in Huntsville on Tuesday. “| don’t know yet if or
when he will do this. He’s very seriously considering it.”

 

McConnell signals
Senate has votes to...

Senate Majority Leader Mitch McConnell (R-Ky.) pleaded with Republican
senators this week to dismiss the drive to challenge the results, which has
been spearheaded by Brooks. McConnell indicated that forcing a debate
would ultimately lead to a contentious vote to swat away the challenge,
which would divide Republicans from President Trump, who remains
wildly popular with the GOP base despite his loss.

HP 312X Black Toner
Cartridge, High Yield...

Spansored | STAPLES

“| think that there was encouragement on the phone for us to accept the
result, as much as it's not what we, you know, would have envisioned for
the next four years, and to try to do what's best for American people,
which is to look forward,” Sen. Shelley Moore Capito (R-W.Va.) said after a
conference call with McConnell.

   

GOP Georgia senators ;
throw support behind... If the vote took place, it would not change the outcome of the election as
. there is not enough support in the House or Senate for it to be successful.

      

Trump and his allies have launched a sprawling legal campaign to
overturn the election results on claims that widespread voter fraud cost
, him reelection. But virtually all of the lawsuits have been thrown out, at
Noem rules out Thune times by Trump-appointed judges, for lack of evidence or standing.

challenge after Trump...
“We got to grab a hold and hold on. We have no choice. Listen to me now,

we have no choice but to win this election. They’re going to try to steal it,
they're going to try to buy it, they're going to do everything they can, lie,
cheat, steal to win this election, like they did in the presidential election,”
Tuberville told the rally crowd in Georgia.

GOP senator criticizes 'ambitious politicians' for ‘dangerous’...

Hawley jams GOP with Electoral College fight

Sen. John Thune (S.D.), the No. 2 Senate Republican, told reporters
Thursday he hopes Tuberville does not vote to have a debate on the
Electoral College, saying, “it’s time ... to move on.”

https://thehill.com/homenews/senate/530692-tuberville-suggests-hell-back-brooks-effort-on-electoral-college 2/3

 
Case 6:20-cv-00660-JDK Document 30-4 Filed 01/01/21 Page 3 of 3 PagelD #: 385

1/1/2021 Sen.-elect Tuberville suggests he'll back effort on challenge Electoral Collage vote | TheHill
“The fact of the matter is that’s been litigated over and over... it’s time to
be cone with this,” Thune said. “Il would hope that we wouldn’‘t have
members of the Senate who would decide that that makes sense. | don’t
think it’s a good decision right now and I don’t think it’s good for the
country.”

Jordain Carney contributed to this report.

TAGS SHELLEY MOOREGAPITO MITCH MCCONNELL KELLY LOEFFLER DAVID PERDUE
GONALD TRUMP IOHNTHUNE JOEBIDEN MOBRGOKS TED CRUZ TOMMY TUBERVILLE

 

THE HILL 1625 K STREET, NW SUITE 900 WASHINGTON DC 20006 j 202-628-8500 TEL | 202-828-8503 FAX
FHE CONTENTS OF THIS SITE ARE #2021 CAPITOL HILL PUBLISHING CORP., A SUBSIDIARY OF NEWS COMMUNICATIONS, INC,

https://thehill. com/homenews/senate/530692-tuberville-suggests-hell-back-brooks-effort-on-electoral-college 3/3

 
